     Case 4:18-cv-00729 Document 19 Filed in TXSD on 06/27/18 Page 1 of 9



             IN THE UNITED STATES DISTRICT COURT FOR THE
                     SOUTHERN DISTRICT OF TEXAS,
                          HOUSTON DIVISION

CARLOS RODRIGUEZ                            §
         Plaintiff,                         §
                                            §
v.                                          §         Civil Action No.: 4:18-cv-00729
                                            §
HOTEL ZAZA HOUSTON,                         §
Z RESORTS MANAGEMENT, LLC,                  §
LEE MAYS, DEREK CRIDDLE,                    §
TERRANCE PHELPS, S. A. DUVALL               §
and SOVEREIGN SERVICES OF                   §
HOUSTON                                     §
          Defendants.                       §

                      JOINT DISCOVERY/CASE MANAGEMENT PLAN
                                 UNDER RULE 26(F)
                         FEDERAL RULES OF CIVIL PROCEDURE

1.    State when the parties conferred as required by Rule 26(f), and identify the counsel
      who conferred.

      ANSWER:      On June 27, 2018, Plaintiff’s counsel and Defendants’ counsel emailed to
                   discuss the preparation of the Joint Discovery/Case Management Plan.

                   Counsel for Plaintiff:

                   S. Reed Morgan
                   The Carlson Law Firm
                   100 E. Central Texas Expy
                   Killeen, Texas 76541
                   800-359-5690 – phone
                   254-526-8204 – facsimile
                   rmtrialfirm@gmail.com
     Case 4:18-cv-00729 Document 19 Filed in TXSD on 06/27/18 Page 2 of 9



                    Counsel for Defendant Z Resorts Management, LLC, Lee Mays, and
                    Derek Criddle:

                     Maria L. Fox
                     Fee, Smith, Sharp & Vitullo LLP
                     2727 Allen Parkway, Suite 1880
                     Houston, Texas 77019
                     713-361-8307 – phone
                     713-362-8302 – facsimile
                     mfox@feesmith.com

                    Counsel for Officer Duvall

                    Connica Lemond
                    Assistant City Attorney, City of Houston
                    900 Bagby, 3rd Floor
                    Houston, Texas 77002
                     (832) 393-6208 TEL
                    (832) 393-6259 FAX
                    connica.lemond@houstontx.gov



2.    List the cases related to this one that are pending in any state or federal court with
      the case number and court.

      ANSWER:       Cause No. 2017-04585; Rodriguez v. Hotel Zaza Houston and Z Resorts
                    Management, LLC; In the 150th District Court of Harris County. This
                    case was removed from the stated state court case; the plaintiff has a
                    motion to remand, which is still pending before this court.


3.    Specify the allegation of federal jurisdiction.

      ANSWER:       This Court has jurisdiction of this case pursuant to 28 U.S.C. Sections
                    1331 and 1343(3).

                    Defendants accepts the Court’s Jurisdiction as proper for 1983 actions and
                    that the court has supplemental jurisdiction for the state law claims.

4.    Name the parties who disagree and the reasons.

      ANSWER:       Plaintiffs have moved to amend their pleading and filed a motion to
                    remand.




                                              2
     Case 4:18-cv-00729 Document 19 Filed in TXSD on 06/27/18 Page 3 of 9



5.    List anticipated additional parties that should be included, when they can be added,
      and by whom they are wanted.

      ANSWER:       None at this time.

6.    List anticipated interventions.

      ANSWER:       No interventions are anticipated.

7.    Describe class-action issues.

      ANSWER:       The parties are not aware of any class action issues at this time.

                    None.

8.    State whether each party represents that it has made the initial disclosures required
      by Rule 26(a). If not, describe the arrangements that have been made to complete
      the disclosures.

      ANSWER:       The parties agree to complete initial disclosures within 30 days of the
                    Scheduling Conference.

9.    Describe the proposed agreed discovery plan, including:

      A.     Responses to all the matters raised in Rule 26(f).

      ANSWER:       The parties agree to complete initial disclosures within 30 days of the
                    Scheduling Conference.


      B.     When and to whom the plaintiff anticipates it may send interrogatories.

      ANSWER:       Plaintiff will send interrogatories to all defendants.

      C.     When and to whom the defendant anticipates it may send interrogatories.

      ANSWER:       Defendant Z Resorts Management, LLC served interrogatories on Plaintiff
                    in the state court proceeding. Remaining defendants anticipate sending
                    interrogatories to Plaintiff within the discovery period set by the Court.

      D.     Of whom and by when the plaintiff anticipates taking oral depositions.

      ANSWER:       Plaintiff anticipates taking oral depositions of Officer Duvall, Lee Mays,
                    Derek Criddle, and Terrance Phelps. Plaintiff also intends to depose any
                    fact witnesses and experts designated by Defendants.




                                               3
      Case 4:18-cv-00729 Document 19 Filed in TXSD on 06/27/18 Page 4 of 9



       E.     Of whom and by when the defendant anticipates taking oral depositions.

       ANSWER:       Defendant Z Resorts Management, LLC took the deposition of Plaintiff in
                     the state court proceeding before the other defendants were added to the
                     case. Defendant, Officer Duvall, anticipates taking the deposition of
                     Plaintiff. All defendants anticipate taking the depositions of any fact and
                     expert witnesses designated by the parties by the end of the discovery
                     period.

       F.     When the plaintiff (or party with the burden of proof on an issue) will be
              able designate experts and provide the reports required by Rule 26(a)(2)(B),
              and when opposing party will be able to designate responsive experts and
              provide their reports.

       ANSWER:       Plaintiff will designate experts within the period allowed by the Court, and
                     provide a report that time; Plaintiff anticipates being able to designate
                     experts on or before December 15, 2018.

                     Defendants will designate experts thirty days after Plaintiff’s designation.

       G.     List expert depositions the plaintiff (or the party with the burden of proof on
              an issue) anticipates taking and their anticipated completion date. See Rule
              26(a)(2)(B) (expert report).

       ANSWER:       Plaintiff anticipates taking the deposition of all experts designated by
                     Defendants within the discovery period set by the Court.

       H.     List expert depositions the opposing party anticipates taking and their
              anticipated completion date. See Rule 26(a)(2)(B) (expert report).

       ANSWER:       Defendants intends to depose experts designated by Plaintiff by the end of
                     the discovery period.

11.    If the parties are not agreed on a part of the discovery plan, describe the separate
       views and proposals of each party.

       ANSWER:       The parties are agreed.

12.    Specify the discovery beyond initial disclosures that has been undertaken to date.

       ANSWER:       No discovery has been undertaken to date.

13.    State the date the planned discovery can reasonably be completed.

       ANSWER:       The parties believe that discovery can be completed by February 15, 2019.




                                               4
      Case 4:18-cv-00729 Document 19 Filed in TXSD on 06/27/18 Page 5 of 9



14.    Describe the possibilities for a prompt settlement or resolution of the case that were
       discussed in the Rule 26(f) meeting.

       ANSWER:       Plaintiff is willing to discuss possible settlement or resolution of this
                     matter but prefers to do so after initial disclosures have been made.

                     Defendants believe that discovery will have to occur before meaningful
                     communication about settlement can occur.

15.    Describe what each party has done or agreed to do to bring about a prompt
       resolution of this dispute.

       ANSWER:       Plaintiff agrees to consider the facts as they develop to determine the
                     appropriate manner of disposition of the case.

                     Defendants are not opposed to discussing resolution after discovery has
                     revealed relevant evidence.

16.    From the attorneys’ discussion with the client, state the alternative dispute
       resolution techniques that are reasonably suitable, and state when such a technique
       may be effectively used in this case.

       ANSWER:       The parties agree that mediation would be appropriate in this matter.

17.    Magistrate judges may now hear jury and non-jury trials. Indicate the parties’ joint
       position on a trial before a magistrate judge.

       ANSWER:       The parties do not consent to trial before a Magistrate.

18.    State whether a jury demand has been made and if it was made on time.

       ANSWER:       A timely jury demand has been made in this case.

19.    Specify the number of hours it will take to present the evidence in this case.

       ANSWER:       The parties anticipate 40 hours.

20.    List pending motions that could be ruled on at the initial pretrial and scheduling
       conference.

       ANSWER:       The plaintiff has opposed motions to amend and for remand for the court’s
                     consideration. Officer Duvall has filed a Motion to Dismiss in this case.

21.    List other pending motions.

       ANSWER:       None.



                                               5
      Case 4:18-cv-00729 Document 19 Filed in TXSD on 06/27/18 Page 6 of 9




22.    Indicate other matters peculiar to this case, including discovery, that deserve the
       special attention of the Court at the conference.

       ANSWER:       There are no matters peculiar to this case to which the Court should devote
                     special attention at the Conference.

23.    Certify that all parties have filed Disclosure of Interested Parties as directed in the
       Order for Conference and Disclosure of Interested Parties, listing the date of filing
       for original and any amendments.

       ANSWER:       Z Resorts Management, LLC and Lee Mays filed their Certificate of
                     Interested Parties on March 13, 2018. Derek Criddle filed his Certificate
                     of Interested Parties on March 16, 2018.
                     Plaintiff Carlos Rodriguez filed his Certificate of Interested Parties on
                     June 27th, 2018.
                     Officer Duvall filed his Certificate of Interested Parties on March 8, 2018.

24.    List the names, bar numbers, addresses, and telephone numbers of all counsel.

       ANSWER:

                     Counsel for Plaintiff:

                     S. Reed Morgan
                     SBN: 14452300
                     The Carlson Law Firm
                     100 E. Central Texas Expy
                     Killeen, Texas 76541
                     800-359-5690 – phone
                     254-526-8204 – facsimile
                     rmtrialfirm@gmail.com

                     Counsel for Defendant Z Resorts Management, LLC, Lee Mays, and
                     Derek Criddle:

                      Maria L. Fox
                      SBN: 07335250
                      FBN: 11780
                      Fee, Smith, Sharp & Vitullo LLP
                      2727 Allen Parkway, Suite 1880
                      Houston, Texas 77019
                      713-361-8307 – phone
                      713-362-8302 – facsimile
                      mfox@feesmith.com




                                               6
Case 4:18-cv-00729 Document 19 Filed in TXSD on 06/27/18 Page 7 of 9




               Counsel for Officer Duvall

               Connica Lemond
               SBN: 24031937
               FBN: 435483
               Assistant City Attorney, City of Houston
               900 Bagby, 3rd Floor
               Houston, Texas 77002
                (832) 393-6208 TEL
               (832) 393-6259 FAX
               connica.lemond@houstontx.gov

 Dated this 27th day of June, 2018.

                                            Respectfully submitted,
                                            /s/ S. Reed Morgan
                                            ATTORNEY

                                            THE CARLSON LAW FIRM
                                            Texas State Bar No: 14452300
                                            100 E. Central Texas Expy
                                            Killeen, TX 76541
                                            Telephone: (800) 359-5690
                                            Facsimile: (254) 526-8204

                                            E-Mail: rmorgan@carlsonattorneys.com

 	




                                        7
        Case 4:18-cv-00729 Document 19 Filed in TXSD on 06/27/18 Page 8 of 9



                                     CERTIFICATE OF SERVICE

         The undersigned attorney certifies that a true and correct copy of the above and foregoing

document has been forwarded to all counsel of record as listed below by e-filing, hand delivery, by

certified mail, return receipt requested, and/or by facsimile transmission, on this the 27th day of June,

2018.
                        Counsel for Defendant Z Resorts Management, LLC, Lee Mays, and
                        Derek Criddle:

                         Maria L. Fox
                         SBN: 07335250
                         FBN: 11780
                         Fee, Smith, Sharp & Vitullo LLP
                         2727 Allen Parkway, Suite 1880
                         Houston, Texas 77019
                         713-361-8307 – phone
                         713-362-8302 – facsimile
                         mfox@feesmith.com

                        Counsel for Officer Duvall

                        Connica Lemond
                        SBN: 24031937
                        FBN: 435483
                        Assistant City Attorney, City of Houston
                        900 Bagby, 3rd Floor
                        Houston, Texas 77002
                         (832) 393-6208 TEL
                        (832) 393-6259 FAX
                        connica.lemond@houstontx.gov

                                                        Respectfully submitted,

                                                        /s/ S. Reed Morgan
                                                        ATTORNEY

                                                        THE CARLSON LAW FIRM
                                                        Texas State Bar No: 14452300
                                                        100 E. Central Texas Expy
                                                        Killeen, TX 76541
                                                        Telephone: (800) 359-5690
                                                        Facsimile: (254) 526-8204




                                                   8
Case 4:18-cv-00729 Document 19 Filed in TXSD on 06/27/18 Page 9 of 9



                               E-Mail: rmorgan@carlsonattorneys.com




                                 9
